 Case 15-30125         Doc 577      Filed 03/18/16 Entered 03/18/16 13:05:26           Desc Main
                                     Document     Page 1 of 26


                            UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF MINNESOTA

 In re:                                                                        Case No. 15-30125

 The Archdiocese of Saint Paul and                                                      Chapter 11
 Minneapolis,
                                                                           Judge Robert J. Kressel
                  Debtor.

                RESPONSE OF CERTAIN ABUSE CLAIMANTS
              IN SUPPORT OF THE APPLICATION TO EMPLOY
        DELOITTE TRANSACTIONS AND BUSINESS ANALYTICS LLP AS
   FINANCIAL ADVISOR FOR THE COMMITTEE OF UNSECURED CREDITORS

                                          INTRODUCTION

          The Committee cannot serve its constituency or its statutory function without the

immediate retention of sophisticated, experienced financial professionals. After consultation with

the Debtor, the retention of a Committee financial advisor was delayed to save costs while

mediation efforts played out. The Debtor and its parishes are in the process of drafting a plan that

will almost certainly be contested. If it is contested, the Debtor will seek to cram the plan down

and force unjustified parish channeling injunctions and other unacceptable terms on abuse

survivors and the Committee. In such an adversarial process, the Committee's efforts will be

opposed by the Debtor and its parishes. Any further delay of the Committee's retention of

sophisticated financial professionals will materially undercut the Committee's ability to fulfill its

statutory duties at a critical time in the case.

          The Debtor, the Parish Committee, and Certain Parishes have objected to the proposed

retention. The Court should not permit the Debtor and its parishes to substitute their judgment for

the judgment of a Committee tasked with protecting the interests of sexual abuse survivors. The

Committee has made its decision, its decision is entitled to deference, and the Committee's need

for financial professionals is urgent and clear. The United States Trustee has expressed no
 Case 15-30125        Doc 577     Filed 03/18/16 Entered 03/18/16 13:05:26               Desc Main
                                   Document     Page 2 of 26


concerns with the proposed retention and it is uncontested that Deloitte Transactions and Business

Analytics LLP ("DTBA") is highly qualified and uniquely positioned to bring important

efficiencies to bear in this case. The objections should be overruled and the Application to retain

DTBA should be approved without further delay.

                                       RELEVANT FACTS

       At the outset of this case, the Court ordered the commencement of a mediation. Although

that effort was expected to focus on insurance coverage issues, at the urging of the Debtor, both

the abuse survivors and the Official Committee of Unsecured Creditors (the "Committee")

attempted to use the mediation as a vehicle to resolve global issues in the case as well. In deference

to those efforts, to preserve estate assets, and again at the urging of the Debtor, abuse survivors

and the Committee postponed the pursuit of certain legal and investigatory strategies.

Additionally, the Committee also postponed its retention of a financial advisor.

       The Committee and the abuse survivors then spent many months seeking a resolution in

the mediation and, along the way, the Committee agreed to two extensions of the Debtor's

exclusivity period. In connection with the second extension of exclusivity, the Debtor stated and

agreed as follows:

               11. The parties also acknowledge that the committees have not
               engaged to date in an independent analysis of potential avoidance
               and other causes of the estate in an effort to reduce fees and expenses
               in this case. In the event that this motion is granted, the Archdiocese
               agrees to provide the committees at least 90 days advance notice of
               its intention to file a plan of reorganization at any time prior to May
               31, 2016 so that the committees may engage in any investigation
               that may be necessary or appropriate in connection with any plan
               that may be proposed by the Archdiocese. If the Archdiocese gives
               a 90 day notice under this paragraph, it will also give notice of any
               change in its intentions with regard to filing a plan.

               12. The Archdiocese believes that its commitment, as set forth
               above, will serve to limit administrative expenses in this case by

                                                  2
 Case 15-30125        Doc 577     Filed 03/18/16 Entered 03/18/16 13:05:26             Desc Main
                                   Document     Page 3 of 26


               permitting the parties to continue to focus on the mediation process,
               as opposed to a potentially contentious and expensive confirmation
               process. The Archdiocese continues to believe the mediation
               process provides the best path forward to a plan that best addresses
               the interests of all parties.

(Docket No. 450) (emphasis added).

       To date, the mediation efforts have been unsuccessful. On February 8, 2016, the Debtor

provided the Committee notice that it intended to file a plan before May 31, 2016. (Affidavit of

Jeffrey R. Anderson, ¶ 2, Ex. A.) Abuse Claimants and the Committee are concerned that the

Debtor intends to propose a non-consensual plan that will include terms unacceptable to abuse

survivors. Among other things, the Committee anticipates that the Debtor will propose to transfer

claims against insurers into a trust for survivors. Doing so would force abuse survivors to wait for

the resolution of such claims, and to deal with such claims – at their cost – through a trust vehicle

while the Debtor receives the benefit of exiting the bankruptcy process. Abuse Claimants and the

Committee also anticipate that, if creditors object to the Debtor's proposed plan, the Debtor will

seek to cram it down.

       Abuse Claimants and the Committee believe that the Debtor has drafted much of its plan

already and it appears that the parishes are participating directly in the drafting process. (Id. at

¶3.) The Committee and abuse survivors have not been invited into the plan drafting process in

earnest, and neither the Committee nor the abuse survivors have seen a copy of any draft plan, or

a copy of any draft plan provisions. Time is now very tight.

       The Debtor has acknowledged that it intends to seek channeling injunctions for its parishes.

The channeling injunction issue is of tremendous importance and concern to the survivors of clergy

sexual abuse. Before abuse survivors could consent to a channeling injunction in favor of the

parishes, and thus give up separate claims that they (and possibly others) hold against the parishes,



                                                 3
 Case 15-30125         Doc 577        Filed 03/18/16 Entered 03/18/16 13:05:26          Desc Main
                                       Document     Page 4 of 26


they would necessarily need to understand what assets the parishes have, and what the parishes

propose to contribute in exchange for such sweeping, third-party relief. Unfortunately the parishes

have refused to provide the Committee with any information regarding their assets despite multiple

requests . (Id. at ¶ 4, Exs. B, C.)

        Starting in 2015, the Committee, its counsel, and counsel for abuse survivors began

discussing the retention of a financial advisor. (Affidavit of James Keenan, ¶ 2.) The parties

collectively explored several options and carefully considered factors such as, among other things,

the tasks that a Committee financial advisor would need to perform, the likely timeline for such

tasks, the compelling need for a high level of subject matter sophistication, the benefits of prior

experience and, of course, related fees and costs. (Id. at ¶ 3.) The parties explored and considered

several options other than DTBA, including smaller firms that could ultimately prove less costly.

(Id. at ¶ 4.) After analyzing all relevant factors, the Committee voted in its discretion to retain

DTBA. (Id. at ¶ 5.)

I.      THE COURT SHOULD DEFER TO THE COMMITTEE'S CAREFULLY-
        CONSIDERED DECISION REGARDING ITS FINANCIAL ADVISOR SO THE
        COMMITTEE CAN PERFORM ITS STATUTORY DUTIES

        "The function of a creditors' committee is to act as a watchdog on behalf of the larger body

of creditors which it represents." In re AKF Foods, Inc., 36 B.R. 288, 289 (Bankr. E.D.N.Y. 1984).

Without the meaningful participation of a creditors' committee, a Chapter 11 bankruptcy case can

become "a unilateral proceeding proposed by a debtor and approved by an uninformed creditor

group." Id. (quoting Creditor Committee Functions and Expenses under Chapter XI of the

Bankruptcy Act, H.R.Rep. No. 121, 90th Cong. 1st Session at 3 (1967). Report of the Commission

on the Bankruptcy Laws of the United States, Part II, p. 218 (1973)).

                When a power granted under section 1103 is needed for the
                committee to fulfill its overriding duty of protecting the creditors'

                                                  4
 Case 15-30125          Doc 577     Filed 03/18/16 Entered 03/18/16 13:05:26             Desc Main
                                     Document     Page 5 of 26


                 interest, the committee is obliged to employ the power. … A
                 "creditors' committee not only has, with the court's approval, the
                 power to employ attorneys, accountants, and other agents to
                 represent or perform services for the committee, it has the duty to
                 determine what assistance it requires in order to perform its duties,
                 when such assistance is required, and to select those best qualified
                 to render such assistance."

Matter of Advisory Comm. of Major Funding Corp., 109 F.3d 219, 224 (5th Cir. 1997) (citations

omitted) (emphasis added).

          The robust involvement of "watchdog" committees in Chapter 11 cases enhances the

legitimacy of the process. In this case, the Committee's meaningful participation is particularly

important due to the long-term victimization, marginalization, and disenfranchisement of the

constituency it represents. The Committee is bound, of course, to act primarily through the

professionals it retains as a conduit to the process. The Committee's fundamental ability to

participate in the case, and to fulfill its statutory role and duties is therefore very much defined,

and could very much be constrained, by the professionals that it is allowed (or not allowed) to

retain.

          Given these considerations, it is not surprising that courts defer to a committee's choice of

professionals absent a highly-compelling justification to do otherwise. “Public policy favors

permitting parties to retain professionals of their choice.” In re Caldor, Inc., 193 B.R. 165, 170

(Bankr. S.D.N.Y. 1996); see also In re Codesco, Inc., 18 B.R. 997, 999 (Bankr. S.D.N.Y. 1982)

(parties should be deprived of the privilege of selecting their own counsel “only in the rarest

cases.”). The Committee should be allowed to retain the financial professionals that it has

determined, after careful consideration of all relevant factors, will do the most efficient and

effective job at helping the Committee fulfill its duty as "watchdog." The Application to employ

DTBA should be approved.



                                                   5
 Case 15-30125        Doc 577      Filed 03/18/16 Entered 03/18/16 13:05:26               Desc Main
                                    Document     Page 6 of 26


 II.     THE COMMITTEE HAS AN IMMEDIATE NEED TO RETAIN
         EXPERIENCED, SOPHISTICATED FINANCIAL PROFESSIONALS

        The Debtor has indicated that it has drafted much of its plan already and that it intends to

propose a plan – regardless of the status of the mediation process – before May 31, 2016. Counsel

for the abuse survivors has reason to believe that the Archdiocese's parishes are participating

actively in the crafting of plan terms. (See Anderson Aff., ¶ 3.) Regrettably, the Committee and

abuse survivors have not been invited into the plan drafting process in any meaningful way, and

the Debtor has not provided a copy of any draft plan, or a copy of any draft plan provisions.

        Time is now very tight. Particularly given the Debtor's shift in focus – from the cooperative

mediation and efforts at a consensual plan to forcing a unilateral plan that will almost certainly

lead to a large-scale confirmation dispute – each day that the Committee is left without the

assistance of a financial advisor necessarily impacts its ability to fulfill its statutory functions. The

Committee urgently requires DTBA's assistance to provide the services described in the

engagement letter, including, without limitation, the following:

               Analyze Debtor financial statements;

               Analyze the scope of estate assets;

               Assist and advise the Committee in its analysis of the Debtor's hypothetical
                liquidation analyses;

               Complete a comparative analysis of the Debtor's schedules and other financial data;

               Analyze financial interactions between the Debtor and its parishes;

               Assist the Committee in its evaluation of personal property owned by the Debtor's
                parishes, including providing valuation services to the Committee;




                                                   6
    Case 15-30125     Doc 577      Filed 03/18/16 Entered 03/18/16 13:05:26              Desc Main
                                    Document     Page 7 of 26


              Analyze parish financial data to assist in determining the propriety of channeling
               injunctions;1

              Analyze "trial balances" spreadsheets and complete a comparative analysis of
               related data to other information provided by the Debtor, including but not limited
               to information on the bankruptcy schedules;

              Assist in the analysis of potential avoidance and other causes of action of the estate;
               and

              Analyze structural, implementation, and other issues relating to the creation of a
               trust for unsecured creditors (as anticipated by the Debtor).

        It now appears that each of the above topics and tasks could have a very large impact on

the rights of abuse survivors in this case. If it is not authorized to retain financial professionals in

the very near future, the Committee will be hamstrung and left with no meaningful opportunity to

protect the rights of its constituency through the plan confirmation process (and possibly beyond),

and this case would be at risk of becoming "a unilateral proceeding proposed by a debtor" and


1
 United States Courts of Appeals for the Fifth, Ninth, and Tenth Circuits have all interpreted 11
U.S.C. § 524(e)—which states that "discharge of a debt of the debtor does not affect the liability
of any other entity on, or the property of any other entity for, such debt"—as prohibiting non-
consensual third-party releases because such releases implicate the liability of an entity other than
the debtor. In re Zale Corp. 62 F.3d 746, 760 (5th Cir. 1995); In re Lowenschuss, 67 F.3d 1394,
1401–02 n. 6 (9th Cir. 1995); In re W. Real Estate Fund, Inc. 922 F.2d 592, 601 (10th Cir. 1990).
Courts that do allow channeling injunctions typically consider five factors: (1) the existence of an
identity of interest between the debtor and the third party; (2) whether the non-debtor contributed
substantial assets to the reorganization; (3) whether the injunction is essential to reorganization;
(4) whether a substantial majority of the creditors agree to such injunction; (5) whether the plan
provides a mechanism for the payment of all, or substantially all, of the claims of the class affected
by the injunction. In re Master Mortg. Inv. Fund, Inc., 168 B.R. 930 (Bankr. W.D. Mo. 1994). The
agreement of a substantial majority of creditors is considered "the single most important factor,"
and courts have rejected releases without affirmative assent from affected creditors. Id.; see also,
e.g., In re Quincy Med. Ctr., Inc., 11-16394-MSH, 2011 WL 5592907, at *4 (Bankr. D. Mass.
Nov. 16, 2011) (considering a third-party release binding only on those creditors who voted in
favor of the plan). Courts have held that full payment of claims is necessary to obtain a release,
see, e.g., In re Wool Growers Cent. Storage Co., 371 B.R. 768, 777 (Bankr. N.D. Tex. 2007), and
others have refused to rule that non-debtors substantially contributed without an analysis of the
non-debtor's ability to pay. In re Mahoney Hawkes, LLP, 289 B.R. 285, 302 (Bankr. D. Mass.
2002).


                                                   7
    Case 15-30125    Doc 577      Filed 03/18/16 Entered 03/18/16 13:05:26             Desc Main
                                   Document     Page 8 of 26


opposed only by "an uninformed creditor group." AKF Foods, Inc., 36 B.R. at 289 (citations

omitted). The principled administration of this case and the rights of the Committee's constituency

are too important to allow the plan confirmation process to go forward in such an obviously

unbalanced way.

III.    DTBA'S FEES ARE REASONABLE AND FEASIBLE FOR THE ESTATE, AND
        DTBA'S SOPHISTICATION CREATES SIGNIFICANT EFFICIENCIES

        The primary basis for objection appears to be the anticipated cost of DTBA's retention.

This line of argument should be given no weight for several independent reasons:

              The United States Trustee has not objected to the Committee's Application on this,
               or any other grounds.

              No one has argued that DTBA's fees are outside the range of fees charged by, and
               approved for comparable professionals in this District or in this case. In fact, the
               Debtor acknowledges that the rates proposed are within the range of rates charged
               by other professionals in the case, albeit at the high end. (Docket No. 564 at p. 4.)2

              DTBA has agreed to bill exclusively on an hourly basis to ensure the United States
               Trustee's ability to review its fee applications on a detailed basis.

              The Debtor acknowledges that there is no risk of administrative insolvency in this
               case. (Docket No. 564 at p. 4.)

              Most importantly, DTBA was, after due deliberation, selected by the Committee
               that represents the interests of sexual abuse claimants in this case. Sexual abuse
               claimants are the only parties in interest likely to be impacted by the purportedly
               "high cost" of DTBA's retention (a premise that is very questionable for reasons set
               forth below). The last parties that should be allowed to substitute their judgment for
               that of the Committee are the parties that will necessarily be the focus of DTBA's
               analytical and investigatory efforts.

        Moreover, DTBA's undeniable sophistication in all relevant areas is certain to create

efficiencies that could actually lead to a comparative reduction in costs. There are very few



2
The Application to retain Alliance Management as the Debtor's financial advisor was approved
without objection and Alliance has twice had its fees approved in this case without objection. (See
Docket Nos. 119, 322, and 495.)

                                                 8
    Case 15-30125    Doc 577     Filed 03/18/16 Entered 03/18/16 13:05:26            Desc Main
                                  Document     Page 9 of 26


financial advisory firms nationwide that can measure up to DTBA's experience and knowledge.

The notion that the Committee could retain a smaller, purely-local firm and receive comparable

services at a significantly-reduced price is simply not based in fact. Regardless of raw talent and

ability, any firm lacking DTBA's broad background and deep bench would face a steep learning

curve that would (i) cost the estate additional funds as its professionals got "up to speed," and

(ii) expend additional time that the Committee simply does not have.

        The Debtor and its parishes also objected to the Application to employ DTBA on grounds

that: (i) the Debtor has provided financial information to the Committee voluntarily; (ii) DTBA

has not agreed to cap its fees; and (iii) the Application suggests that DTBA will analyze parish-

related information and, because the parishes will likely refuse to provide such information,

DTBA's proposed analysis will not be necessary. Addressing the last argument first, if the parishes

continue to refuse to provide financial information, DTBA will not analyze such information and

corresponding costs will never be incurred. Instead DTBA will focus on the many other tasks

falling within the scope of its anticipated employment (as detailed above).

        It would be inappropriate to limit DTBA's work by capping its fees at the current time

because neither the Committee nor counsel for the abuse survivors can reliably predict the scope

of work that DTBA will be asked to perform.3 The Debtor has not shared the details of its draft

plan with the Committee or counsel for the abuse survivors, the possibility remains that the

parishes will stop refusing to provide financial information to the Committee, or that the Debtor



3
 In its Objection, the Debtor references an "initial" cap that applied to DTBA's fees in the
Milwaukee Diocese case. DTBA did not act as financial advisor to the Official Committee of
Unsecured Creditors in the Milwaukee Diocese case, but instead one of its directors served as the
Future Claimants' Representative there. DTBA's director's role was thus limited to two primary
tasks in that case – estimating future claims and making sure that such claims were provided for.
DTBA's proposed role in this case is much broader and the scope of its services is much more
difficult to predict.
                                                9
 Case 15-30125       Doc 577     Filed 03/18/16 Entered 03/18/16 13:05:26            Desc Main
                                 Document      Page 10 of 26


will ultimately provide such information, and the Committee has reportedly not yet received all

documents (including several years of account information) requested from the Debtor. Given

these significant unknowns, it is not reasonable to expect or require DTBA to cap its fees.

       Finally, although the Debtor has provided some financial information to the Committee

voluntarily, the sharing of such information has nothing at all to do with DTBA's proposed

retention. The Committee does not propose to retain DTBA to collect information, but to analyze

the information once it is collected. There is nothing about the Debtor's voluntary production of

data that makes DTBA's retention less necessary.

                                        CONCLUSION

       The objections filed by the Debtor and its parishes have already caused unjustified and

harmful delay. There is no reasonable basis to imperil the rights of the abuse survivors further by

substituting the thoughtful judgment of the Committee with the judgment of parties clearly

motivated to limit the Committee's role in the upcoming, crucial stages of this case. The

Application to employ DTBA should be granted.

Dated: March 18, 2016                 Respectfully submitted,

                                      JEFF ANDERSON & ASSOCIATES, P.A.

                                      /e/ Jeffrey R. Anderson
                                      Jeffrey R. Anderson, #2057
                                      Michael G. Finnegan, #033649X
                                      Elin M. Lindstrom, #0392927
                                      366 Jackson Street, Suite 100
                                      St. Paul, MN 55101
                                      Telephone: 651-227-9990
                                      Facsimile: 651-297-6543
                                      Email: jeff@andersonadvocates.com
                                      Email: mike@andersonadvocates.com
                                      Email: elin@andersonadvocates.com

                                      Attorneys for Certain Abuse Survivor Claimants



                                                10
  Case 15-30125       Doc 577     Filed 03/18/16 Entered 03/18/16 13:05:26             Desc Main
                                  Document      Page 11 of 26


                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF MINNESOTA

 In re:                                                                        Case   No. 15-30125
 The Archdiocese of Saint Paul and                                                      Chapter   11
 Minneapolis,
                                                                           Judge Robert J. Kressel
                 Debtor


                          AFFIDAVIT        OF'        Y R. ANDERSON

 STATE OF MINNESOTA                    )
                                       )   SS.
 COTINTY OF RAMSEY                     )

          Jefïrey R. Anderson, being duly sworn, deposes and states as follows:

          1.    My name is Jeffrey R. Anderson. I am an attorney in the law firm of Jeff

Anderson & Associates, P.A., counsel for certain personal injury creditors in the case captioned

above.

          2.    On February 8,2016, Richard D. Anderson, counsel for the Debtor, sent an

email to Mr. Robert Kugler and Mr. Dennis O'Brien providing 90 days'notice of the Debtor's

intent to file a plan of reorganization. I received a copy of the email from counsel for the

Official Committee of Unsecured Creditors. A true and accurate copy of the email is attached

to this Affrdavit as Exhibit A.

          3.    On February 22,2016, a local canon lawyer with a blog reporting on

Archdiocese-related topics published an email from Mary Jo Jensen-Carter, counsel to the

"Parish Group." The blog entry was available as of the date of this Affidavit at the following

link: http://canonicalconsultation.com/l/post/2016/02lupdate-on-the-chapter-1 1-plan.hanl. The

blog post at issue explains that Ms. Jensen-Carter's email was "sent to parish representatives by

the attorney representing the parish group," and that the blogger at issue received the email "via
    Case 15-30125          Doc 577             Filed 03/18/16 Entered 03/18/16 13:05:26   Desc Main
                                               Document      Page 12 of 26


a   circuitous route" that she did not elect to detail. Among other things, the email from Ms.

Jensen-Carter states:      "I will be meeting with the attorneys for the Archdiocese and other parish

attorneys to work on the Chapter l1 plan language in the next couple of weeks. We are hoping

to get a plan filed in the next 30-60 days."

         4.      True and accurate copies of correspondence sent by counsel for the Committee

to parish attorneys are attached to this Affidavit as Exhibit B and Exhibit C.

         Further your affiant sayeth not.




                                                                     R. Anderson
Subscribed and sworn to before me
this 18th day of March,2016


                       û
Notary Public



              THERESE A. GAHI-ER
              Notary PublioMinnesota
               Commiss¡on åpires Jan 31, 2@0




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Case 15-30125   Doc 577   Filed 03/18/16 Entered 03/18/16 13:05:26   Desc Main
                          Document      Page 13 of 26




                              EXHIBIT A
                         Case 15-30125                             Doc 577           Filed 03/18/16 Entered 03/18/16 13:05:26   Desc Main
                                                                                     Document      Page 14 of 26




From¡' Anderson, Richard, D, Irnailto:Mnderson(ôBrigss.com]
Sent: Monday, February 08, 2016 1:16 PM
To: Kugler, RobeÈ; Dennis(òmantylaw.com
Cc: Caldie, Ed; Rogers, Charles
Subjèct Fxcluiivity/.Plan                        Process




Rcb and Dennis:

This is a follow up to the motion filed by the Archdiocese cn October 14 to extend its exclusivity period {Docket No. 450}, As you will rec,all, the
Archdiocese agreed as part of it$ motioñ to provide the committees with at least 90 days advânce nstice of its intention to file a plan of
reorganization prior to May 31,

This will constitule hoficê of the Archdiocese's intent¡on to fíle a plan prior to May 3L {tiut not prior to 90 days from the date of this notice}. As
stated in iïs exelusÍvity motion, we will provide the committees with notice of any change in the Ar.chdiocese,s intentions with respect te plan
fil¡ng.

Of course, wê hope to reach ägreeffìent on plan terms with either ¡¡r bath of the cÕmmitteès prior to filing,

Thankyou.


R¡chard D, Anderson
Shareholder




Briggs and Morgan, P.A.
Direct 612.977.8640
Cell 651.214.8980
Fax 612.977.8650
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             Case 15-30125              Doc 577         Filed 03/18/16 Entered 03/18/16 13:05:26                              Desc Main
                                                        Document      Page 15 of 26




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recipient is not a waiver ofany attorney-client or work-product plivilege,




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Case 15-30125   Doc 577   Filed 03/18/16 Entered 03/18/16 13:05:26   Desc Main
                          Document      Page 16 of 26




                             EXHIBIT          B
                     Case 15-30125                       Doc 577               Filed 03/18/16 Entered 03/18/16 13:05:26                            Desc Main
                                                                               Document      Page 17 of 26




            Ed

From:                                            Caldie, Ed
Sent:                                            Wednesday, January06,2016 2:50 PM
To:                                              Dennis@ mantylaw.com;'r.naryio@buckleyjensen.com'
Cc:                                              Kugler, Robert; randerson@briggs.com; Rogers, Charles; Gurstelle, Benjamin (BGurstelle@Briggs.com)
SubjeCt:                                         RE: Archdiocese of Saint Paul and Minneapolis




Good,afternoon,

Robis unavailable, so he asked me to communicate a couple of poiñts regârding our document requests in hopes that we can approach the production process
eff iciently and cooperatìvely.


F¡rst, the Committee is not aware of anV privilege that would inhibit the Archdiocese from responding fully and efficiently to our requests for information. The
information we are seeking is in the possession of the Archdiocese and, in each instance, the requested informationwill bearon theArchdioceselsabilityto
confírm a plan acceþtable to all major constituencies {a goal that everyone. on this e-ma¡l chain shares).

Second, and relatedly, Parish-related financial information will have to be understood for the UCC to properly evaluate any channeling injunction in favor ofany
parish. lf .a specific parish does not seek the protection of a channeling injunction, financial information regarding that specific parish may be lomewhat less
cr¡tical, but it w¡ll still be relevant for the UCC's analysis of plan feasibility and possibly other issues, While we undeistand that our requests riay generate some
discussion, or requests for clarity, the UCC would obviously táke a very dim v¡ew of any parish that impeded ¡ts attèmpt to establish a cooperat¡ve ¡nforination-
sharing proceSs only to,seek the protectìons of a channeling injunction later on,

we believe the Arçhdiocese (at least largely) shares the ucc,s vlew of the above issues, but we invlte              Rich   and/or charlie to ihime in if we are mistaken.

Best,

-Ed



Begin forwarded message:

           From:'lAnderson,         Richa   rd   D.   " <RAnde rson   (Ð   Briqgs.com>
           Ðate: January 6, 20L6 at 6:00:59 AM MST
           To: "Dehnis@mantylaw.com" <Dennis(ômantvlaw.com>, "Mary Jo A. Jensen-Carter (marvio@buckleviensen,com)"
           <rh   a   rvio(ô buckièvien   se n.co m >



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             Case 15-30125             Doc 577          Filed 03/18/16 Entered 03/18/16 13:05:26                             Desc Main
                                                        Document      Page 18 of 26




       Cc: "Kugler, Robert" <robert.kueler@stinson.com>, "Gurstelle, Benjamin" <BGurstelle@Brisss.com¿ "Rogers, Charles" <çBgCC-fE@gflgC!.com>
       Subject: FW¡.Archdicicese of Saint Paul and Minneapolis




       Mary Jo/ Dennis:



       I have attached a copy of the correspondence and informal information and document request I received last week from counsel
       to the Official Committee of Unsecured Creditors (copied on this email). We are in the process of responding to the requests
       dealing directly with the Archdiocese's books and records. A number of the requested items, however, pertain to paiishes. I
       have advised Rob Kugler of the correspondence we rece¡ved from Mary Jo Jensen-Carter in February 20L5.

       We are willing to participate in a conference call on the matter if you believe that a call would be helpful.


        Richard D. Anderson
        Shareholder



Robert T. Kugler
Partner
Minneapolis
612.335.1645
x51645

Edwin,H. Caldie
Partner
Minneapolis
612.335,r.404
tts1404
Case 15-30125   Doc 577   Filed 03/18/16 Entered 03/18/16 13:05:26   Desc Main
                          Document      Page 19 of 26




                             EXHIBIT C
   Case 15-30125          Doc 577     Filed 03/18/16 Entered 03/18/16 13:05:26                  Desc Main
                                      Document      Page 20 of 26

 q \&òr                                                                                              RobertT. Kugler

   \qËb^                                                                                     ó12.335.1ó45 DIRECT
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 sïlNsoht
.LEONARD
                                                                                       robert.kugler@slinson.com

 5üReL,t


    Morch 3, 201ó


    Senf vio E-mq,il

    Mory Jo Jensen-Corter                                Dennis O' Brien
    Buckley & Jensen                                     Monty & Associotes, P.A.
    1257 Gun Club Rood                                   40ì Second Avenue Norih, Suite 400
    White Beor Loke, MN 551 10                           Minneopolis, MN 55401
    E-moil: morvjo@buckleviensen.com                     E-moil : dennis@ mo ntv]oyr.conr



    KE:       ln re The Archdiocese of Soinf Paul and Minneopolis
              Cose No.: l5-30125

    Deor Mory Jo ond Dennis:

    ln on e-moil sent lo both of y.ou on Jsnuory 6,2016, we inform,ed you tho't Porish-reloted
    finonciol informalion will hove io be understocd for the Officicl Commiitee of Unsecul'ed
    CrediTors (the "eommrttee") to evoluofe pr:operly any chonneling injunction in fovor of ony
    Porish. We olso noied thot, even if o specific Porísh does not ultimotely seek the protection of
    o chonneling injunciîon. finoncìol informoiion regording such Porlsh willstill be relevont for our
    ,Committee's onolysis of plon feosibility ond other issues. Our e-moil furiher mode cleor thot
    our Commiilee will loke o very dim view of ony Pcrish thot impedes its,oftempÏ to esfoblish o
    cooperotive informotion-shoring process only To seek ihe proteciions of o chonneling
    injunction loier on. ln the neorl¡z iwo months following our e-moil, we hove received literolly
    nothing in ihe woy of dolo thot would ollow our CommiTtee io onolyze the propriety of o
    chonneling injunciion in fovor of ony Forish. On the controry, we received wriffen
    communications stotîng on express refusol to shore such informotion.

    I wrîfe io you todoy to memoriolize the Committee's position ogoin. Ow Çommìttee will
    oppose by ølt meons of ifs disposol fhe exfension of a chonnelìng ìnjvnction to øny Porish
    tltof føils fo provide lhe inforrnsfíon lisfed in the enclosure fo fhis letter within o lin¡eÍrøme fhof
    wîll otlow fhe Cor¡lmiffee's professionols a meoningful opportunìty to digesf ønd vetify such
    informotion To be cleor, oll infornnotion listed,should be provided 120 doys in odvonce oi
    ony confirmotion heoríng lo permit the Commi'tleels professionols o mesnîngful opporlunity
    io underslond ond verify i't.

    You hove expressed concerns regording the confideniiolîty of Porìsh inforrnotion given the
    likelihood thot lowsuits will be filed cgoinst the Porishes in the neqr term. The possibilÌ,ly of
    lowsuifs ogoins't fhe Porishes does not oller our Commitlee's need io verify Porish osset
    informoiion, jusl os lhe possibilify of such lowsuils will nof oller fhe Po¡'ishes' efforts to obfoin
    chonnelÍng injunciions thr:ough the confirmotion of o plcn. Neverlheless, we,remoin willing to
    discuss occommodotions thol would ensure the coreful ond confidenliol treoirnenÌ of Porish
    finonciol doto.

                                  ]50 SOUTH FIFIH SlREET. SUIlE 23O0 . MINNEAPOTIS, MN 55402
 www.sl¡nsonleonord.com               óì2.335.t500 MArN . óì2.335.tó57 FÀX.
    1188365il.r
Case 15-30125       Doc 577         Filed 03/18/16 Entered 03/18/16 13:05:26      Desc Main
                                    Document      Page 21 of 26




pleose coniocl me to discuss o plon for executing on the shoring of Pcrish informotion'

Sincerely,

STINSON LEONARD STREET LLP

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  '{ftfi'u1..:i"1.
  //
Roberi T. Kugler

cc:      Richord D. Anderson (vio e-moil: ronderson@brioqs.com)
         Chorles Rogers (vio e-moil: crogers@brioos'com)
         Benjomin Gurslelle ivio e-moil: bgurstelle@briçgs'com)




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Case 15-30125         Doc 577        Filed 03/18/16 Entered 03/18/16 13:05:26                 Desc Main
                                     Document      Page 22 of 26




                                                  DEF'INITIONS

           A.      ",ArÌ¿" and "or" shall be construed either in the digjunctive or coqiunctive           as


  necessary to bring    within the scope of this discovery request all responses that might otherwise

  be construed to be outside     ofits   scope.

           B.       "Archdiocese" refers to The Archdiocese of Sahrt Paul andMinneapolis,

           C,       "Document" means any written, printed, typed, electronic, or other g¡aphic or

  photographic matter      of any i.ature, any     audio or video recordings, computer data, as well æ

  disks sr other devices storing such data, and other data compilafions from which infornration

  can be obtained, and translated ifnecessary by you tlrough detection devices into reasonable

  usable   for¡n. A draft or non-identical copy is a separate docr:ment \¡rithin the meaning of this

  term.     These terms include all revisions, modifi.cations, mæk-ups, addend4 memoranda                 of

  understanding, attachments and exhibits. These tenns shall include            all   attachments   to   and


  enclbsures with any requested iten¡ to which they are attached or with which they are enclosed,

  and each draft thereof. "Document" shall include the category of thiugs enu¡nerated by Federal

  Rules of Civil Procedure 3a(a)(i).

           D.      Financial trnformation refers to any inforrnation that tends to show the finances,

  financial condition or assets and liabilitics          of a Parish or the Archdiocese.       Financial

  Infor¡sation includes, but is nqt limited to, profit and loss statements, balauce sheets, general

  ledgers, accounts receivable, accounts payable, assets and liabilities, statements of cæh flow,

  investments, benefi.cial interests         in   tnrsts, and any Documents containiug sunmaries,

  discussions, descriptions or analysis of the same.




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 Case 15-30125                Doc 577     Filed 03/18/16 Entered 03/18/16 13:05:26                 Desc Main
                                          Document      Page 23 of 26



                   ,,parish,, shall refer to every parish that has operated or currently operates in the
        E.
                                                   parishes represented by the Parish creditorsl
A¡chdiocese, including without limitation, the 187

Committee inthe Archdiocese's bankruptcy case $4inn'
                                                     Ban}I' CaseNo' 15-30125)'

         F.                                                   referred to as "green sheets," fneans
                   "parish Financial Reports," which are also

the a¡¡uai financial reports prepared by Parishes'

         G.        ,,parish Finæcial Reviews," which are also referred           to as "Parish reviews,"

means the financial review          or summaries prepared by each Parish for the Archdioeese every

five (5) years and every time there is a pastor change within        a Parísh.


                   "Relating to" or "Reflecting" means tO conSist of; refer to, pertain
                                                                                        to' Íeflect'
         H.
                                                               connecJed with the matter discussed'
evidence, constitute or be in any rilay logicatly or faotually




         i.         All Financial Infonnatiou for   each Parish'

         2-         All   Pa¡ish Finaqciat Reports for each Pæish'

         3,         Atl Parish Financiat Reviews for each Parish'

         4.         Ali   annuai reports for each Pæish.

                       Documents, audits, financial reviews, or reports prepared or reviewed
                                                                                             by un
         5.         All
                    auditor or third party Relating To a Parish's Financial Information

          6.        Ali Documents illustrating   each Parish's Financial Informatisn.

          T.        Ali  Docume:rts prepared        by aüy    Parish reflecting consolidated financial
                    information of a Pa¡ish'

          g.        To the extentnot already disclosedpursuantto anotherrequesthereiU alistin8$
                    and ail Docrunents reflecting any personalty or real property in theÞossessiolo! 1
                    parish regardless of whethãr the Pa¡ish views itself to be the title or beneficial
                    owner of sueh personalþ or real proper[y

           g.        A list ofatl real property interests held by each Parish'

           10.       Documents reflecting or illustratiug any one or more real proper-ly interests
                                                                                                      hetrd

                     by each Parísh.

                                                        .,


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Case 15-30125              Doc 577     Filed 03/18/16 Entered 03/18/16 13:05:26                 Desc Main
                                       Document      Page 24 of 26




           I   1.    The following categories of information for each interest in real propeÉy held by
                     a Parish:

                     .     AIl floor plans aad drawings relating to the real proper{y and its improv.ements
                     '.    Building square footage bteakdowns
                           List of Year built and subsequent building expansion yeæs and what was
                           added to the building (size, building component), if any
                            Site surveys
                      "
                      "     Site plans
                      ø     Title work or infoilnation on any existing easements
                      o     List ofcapital expenditures over the past 5"10 years
                      "     List of any deferred maintenance and the estimated cost ofrepairlreplacement
                            (if known, or if they have constructionbids)
                      '.    Infonnation on any use restuictions, zoning overlays, hístorical designations
                            Operating income and expense information over the past 3 years þius YTD
                            20r6)
                      ,     En¡ollment data over the past i0 years, if any
                      .     License or certifi.cate indicating enrollment capacþ for the building, if any
                      "     Any appraisals relating to the real propely or its improvements
                      "     inforrnation on any previous offerings for sale or offers to pruchase




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Case 15-30125   Doc 577   Filed 03/18/16 Entered 03/18/16 13:05:26   Desc Main
                          Document      Page 25 of 26
Case 15-30125   Doc 577   Filed 03/18/16 Entered 03/18/16 13:05:26   Desc Main
                          Document      Page 26 of 26
